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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG MDL NO. 2179
“DEEPWATER HORIZON”
in the GULF OF MEXICO SECTION: J

on APRIL 20, 2010
JUDGE BARBIER

Shun Y. Chu, et al. v.
BP PLC, et al
EDLA No. 10-3174

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This Document Relates to: §
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§ MAG. JUDGE SHUSHAN
§
§

ORDER ON PLAINTIFF HAO PHAN’S MOTION FOR LEAVE OF
COURT TO VOLUNTARILY DISMISS CLAIMS WITHOUT PREJUDICE

Considering the foregoing Motion,

IT 1S HEREBY ORDERED that Plaintiff HAO PHAN’S Motion for Leave of Court
to Voluntarily Dismiss Claims Without Prejudice is hereby in all things is GRANTED.

IT IS FURTHER ORDERED THAT that the claims of Plaintiff HAO PHAN only,
as listed on Exhibit “A” attached to said Motion are hereby dismissed without prejudice.
This Order in no way affects the claims of the remaining Plaintiffs in this Civil Action.

New Orleans, Louisiana, this day of , 2011.

HONORABLE CARL J. BARBIER
